
                                                                    








				











COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 

NO. 2-04-312-
CV





IN RE EDDIE ARTHUR CROSS						 &nbsp;&nbsp;RELATOR





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ORIGINAL PROCEEDING

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MEMORANDUM
 
OPINION
(footnote: 1)
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The court has considered relator's petition for writ of mandamus 
and is of the opinion that relief should be denied. &nbsp;Accordingly, relator's petition for writ of mandamus is denied.

PER CURIAM





PANEL B
: MCCOY, HOLMAN, and WALKER, JJ.



DELIVERED: OCTOBER 26, 2004



FOOTNOTES
1:See 
Tex. R. App. P. 47.4
.




